Case 2:05-CV-02417-BBD-tmp Document 15 Filed 07/07/05 Page 1 of 2 Page|D 20

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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE)S JUL '“7 PH l2: 29

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E-PEFORMA.X CONTACT CENTERS, INC. J'UDGMENT IN A CIVIL CASE
v.
KEN'NETH VAN VRANKEN, et al. CASE NO: 05-2417-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting The Motion Of Plaintiff To Remand entered on July 5, 2005,
this cause is hereby dismissed.

 

 

THOMASNLGCKLD

Clerk of Court

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(BY) Deputy CYerk

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

